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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                                         Chapter 11
VIRGINIA TRUE CORPORATION,                                               Case No. 19-42769 (NHL)

                                       Debtor.
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                           ORDER DENYING MOTION TO TRANSFER VENUE

         WHEREAS, on May 3, 2019, Virginia True Corporation (the “Debtor”) filed a voluntary

chapter 11 petition; and

         WHEREAS, on June 20, 2019, Domenick Cipollone and Anthony Cipollone (together,

the “Cipollones”) filed a motion to transfer venue to the Eastern District of Virginia (the

“Motion”) [ECF No. 26]; and

         WHEREAS, on July 3, 2019, Robert C. Smith, PLC filed a response in support of the

Motion [ECF No. 49]; and

         WHEREAS, on July 3, 2019, the Debtor filed opposition to the Motion (the “Debtor’s

Opposition”) [ECF Nos. 52 and 53]; and

         WHEREAS, on July 5, 2019, Diatomite Corporation of America filed opposition to the

Motion (“Diatomite’s Opposition”; together with the Debtor’s Opposition, the “Opposition”)

[ECF No. 54 and 55]; and

         WHEREAS, on July 8, 2019, the Cipollones filed a reply to the Opposition [ECF No.

59]; and

         WHEREAS, on July 9, 2019, Robert C. Smith, PLC filed a reply to the Opposition [ECF

No. 60]; and

         WHEREAS, on July 11, 2019, the Court held a hearing on the Motion (the “July 11th

Hearing”), at which appeared Rachel Wolf (Counsel to the U.S. Trustee), Alison W. Toepp
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(Telephonically - Counsel to the Debtor), Douglas J. Pick (Counsel to the Debtor), Stephen Z.

Starr (Counsel to the Cipollones), Rishi Kapoor (Counsel to Diatomite Corporation of America),

and Robert Coleman Smith (Telephonically - Counsel to Robert C. Smith); and

        WHEREAS, on August 8, 2019, the Court held an adjourned hearing on the Motion (the

“August 8th Hearing”), at which appeared Douglas J. Pick (Counsel to the Debtor), Stephen Z.

Starr (Counsel to the Cipollones), Nazar Khodorovsky (Counsel to the U.S. Trustee), and Rishi

Kapoor (Counsel to Diatomite Corporation of America); and

        WHEREAS, at the August 8th Hearing, the Court read its decision into the record; and

        NOW, THEREFORE, upon the records of the July 11th Hearing and August 8th Hearing,

it is hereby

        ORDERED, that the Motion is denied.




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 Dated: August 13, 2019                                           Nancy Hershey Lord
        Brooklyn, New York                                   United States Bankruptcy Judge
